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   8                        UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   10 HEREDIA BOXING MANAGEMENT, INC. , et Case No.
      al.                                  5:20−cv−02618−JWH−KK
   11             Plaintiff(s),            ORDER SETTING SCHEDULING
   12      v.                              CONFERENCE

   13 MTK GLOBAL SPORTS MANAGEMENT,        Date: October 21, 2022
        LLC , et al.                       Time: 11:00 AM
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                        Defendant(s).
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   19          PLEASE READ THIS ORDER CAREFULLY. IT DIFFERS IN SOME
   20                       RESPECTS FROM THE LOCAL RULES.
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   1         This case has been assigned to Judge John W. Holcomb. This matter is set

   2    for a video Scheduling Conference on the date set forth above. To obtain the

   3    video conference link for the scheduled hearing, the parties are directed to Judge

   4    Holcomb’s Procedures and Schedules page on the Court’s website:

   5    http://www.cacd.uscourts.gov/honorable−john−w−holcomb. Please follow the

   6    instructions listed under “Zoom Webinar Hearings.” The Court, in its sole

   7    discretion, may order (usually by text entry) that the Scheduling Conference

   8    shall instead be conducted in person.

   9         If plaintiff has not already served the operative Complaint on all defendants,

   10   Plaintiff is DIRECTED to do so promptly, and Plaintiff shall file proofs of service

   11   within three days thereafter. Defendants shall also timely serve and file their

   12   respective responsive pleadings, and they shall file proofs of service within three

   13   days thereafter.

   14        The Court will conduct the Scheduling Conference pursuant to Rule 16(b)

   15   of the Federal Rules of Civil Procedure. The parties are reminded of their

   16   obligations under Rule 26(f) to confer regarding a discovery plan no later than

   17   21 days before the Scheduling Conference and to e-file a “Joint Rule 26(f)

   18   Report” with the Court no later than 14 days before the Conference. Mandatory

   19   paper chambers copies of the Joint Rule 26(f) Report must be (a) delivered to

   20   Judge Holcomb’s drop box outside the door of Courtroom 9D by 5:00 p.m. on the

   21   first court day following the e-file; or (b) transmitted via FedEx, UPS, or other

   22   overnight service, for delivery no later than 5:00 p.m. on the first court day

   23   following the e filing, addressed to the Chambers of Judge John W. Holcomb,

   24   U.S. District Court for the Central District of California, Courtroom 9D,

   25   411 W. 4th Street, Santa Ana, California 92701.

   26        The Court encourages counsel to begin to conduct discovery actively

   27   before the Scheduling Conference. At the very least, the parties shall comply

   28   fully with the letter and spirit of Rule 26(a) and thereby obtain and produce


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    1    most of what would be produced in the early stage of discovery, because at the

    2    Scheduling Conference the Court will impose strict deadlines to complete

    3    discovery.

    4         This Court does not exempt parties appearing in propria persona from

    5    compliance with any of the Local Rules, including L.R. 16. “Counsel,” as used

    6    in this order, includes parties appearing in propria persona.

    7                          I. JOINT RULE 26(f) REPORT

    8         The Joint Rule 26(f) Report, which shall be filed no later than 14 days

    9    before the Scheduling Conference, shall be drafted by Plaintiff (unless the

    10   parties agree otherwise), but shall be submitted and signed jointly. “Jointly”

    11   contemplates a single report, regardless of how many separately represented

    12   parties are in the case. The Joint Rule 26(f) Report shall specify the date of the

    13   Scheduling Conference on the caption page. It shall report on all matters

    14   described below, which include those required to be discussed by Rule 26(f) and

    15   L.R. 26:

    16         1.   Statement of the case: A short synopsis (not to exceed two pages)

    17   of the main claims in the Complaint and in the Counterclaim (if any) and the

    18   primary affirmative defenses.

    19         2.   Subject Matter Jurisdiction: A Statement of the specific basis of

    20   federal jurisdiction, including supplemental jurisdiction.

    21         3.   Legal Issues: A brief description of the key legal issues, including

    22   any unusual substantive, procedural, or evidentiary issues.

    23         4.   Parties, Evidence, etc.: A list of parties, witnesses, and key

    24   documents on the main issues in the case. For conflict purposes, corporate

    25   parties must identify all subsidiaries, parents, and affiliates.

    26         5.   Damages: The realistic range of provable damages.

    27         6.   Insurance: Whether there is insurance coverage, the extent of

    28   coverage, and whether there is a reservation of rights.


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    1            7.   Motions: A statement of the likelihood of motions seeking to add

    2    other parties or claims, to file amended pleadings, to transfer venue, etc.

    3            8.   Manual for Complex Litigation: Whether all or part of the

    4    procedures of the Manual for Complex Litigation should be utilized for this

    5    case.

    6            9.   Status of Discovery: A discussion of the present state of discovery,

    7    including a summary of completed discovery.

    8            10. Discovery Plan: A detailed discovery plan, as contemplated by

    9    Rule 26(f). State what, if any, changes in the disclosures under Rule 26(a)

    10   should be made, the subjects on which discovery may be needed, whether

    11   discovery should be conducted in phases or otherwise be limited, whether

    12   applicable limitations should be changed or other limitations imposed, and

    13   whether the Court should enter other orders. A statement that “discovery will

    14   be conducted as to all claim and defenses,” or other vague description, is not

    15   acceptable.

    16           11. Discovery Cut-off: A proposed discovery cut-off date. This means

    17   the final day for the completion of discovery, including the resolution of all

    18   discovery motions.

    19           12. Expert Discovery: Proposed dates for expert witness disclosures

    20   (initial and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

    21           13. Dispositive Motions: A description of the issues or claims that any

    22   party believes may be determined by motion for summary judgment or motion

    23   in limine.

    24           14. Settlement/Alternative Dispute Resolution (ADR): A statement of

    25   what settlement discussions or written communications have occurred

    26   (excluding any statement of the terms discussed). If counsel have received a

    27   Notice to Parties of Court-Directed ADR Program (Form ADR-08), the case

    28   presumptively will be referred to the Court Mediation Panel or to private


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   1    mediation (at the parties’ expense). If the parties jointly desire a settlement

   2    conference with the assigned Magistrate Judge, they should so indicate in their

   3    report. The case may not proceed to trial unless all parties, including an officer

   4    (with full authority to settle the case) of all corporate parties, have appeared

   5    personally at an ADR proceeding.

   6            15. Trial Estimate: A realistic estimate of the time required for trial

   7    and whether trial will be a bench trial or jury trial. Each side should

   8    specify (by number, not by name) how many witnesses it contemplates calling.

   9            16. Trial Counsel: The name(s) of the attorney(s) who will try the

   10   case.

   11           17. Independent Expert or Master: Whether this is a case where the

   12   Court should consider appointing a master pursuant to Rule 53 or an

   13   independent scientific expert.

   14           18. Timetable: Complete the Schedule of Pretrial and Trial Dates

   15   form attached as Exhibit A to this Order and attach it to the Joint Rule 26(f)

   16   Report. Each side should write in the month, day, and year it requests for each

   17   event. At the Scheduling Conference, the Court will review this form with

   18   counsel. The proposed date for each event shall fall on a Friday, except the trial

   19   date, which is a Monday. Counsel should ensure that requested dates do not fall

   20   on a holiday. In appropriate cases, the Court may order different dates from

   21   those proposed by the parties. The discovery cut-off date is the last day by

   22   which all depositions must be completed, responses to previously served written

   23   discovery must be provided, and motions concerning discovery disputes must be

   24   heard. The cut-off date for motions is the last date on which motions may be

   25   heard, not filed. The Court directs counsel’s attention to L.R. 6-1 regarding the

   26   timing of motions, oppositions thereto, and hearings thereon.

   27           19. Amending Pleadings and Adding Parties: Please note that the

   28   Court does not typically set a separate deadline for the parties to amend their


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   1    pleadings or to add parties. A party who wishes to amend its pleading or to add

   2    one or more parties shall seek a stipulation from the other parties. If the parties

   3    cannot reach such a stipulation, then the party seeking to amend shall comply

   4    with Rule 15(a) and, if applicable, Rule 16(b)(4) of the Federal Rules of Civil

   5    Procedure, as well as L.R. 15-1 through L.R. 15-3 and L.R. 16-14.

   6         20. Other issues: A statement of any other issues affecting the status or

   7    management of the case (e.g., unusually complicated technical or technological

   8    issues, disputes over protective orders, extraordinarily voluminous document

   9    production, non-English speaking witnesses, ADA-related issues, discovery in

   10   foreign jurisdiction, etc.) and any proposals concerning severance, bifurcation,

   11   or other ordering of proof. The Court does not like surprises. Accordingly,

   12   counsel and the parties are directed to raise in the Joint Rule 26(f) Report any

   13   and all issues that may tend to make this case unusual, challenging, or difficult.

   14        21. Consent to Proceed Before Magistrate Judge: A statement that

   15   counsel for all parties have discussed whether the parties consent to have a

   16   Magistrate Judge of this Court conduct any and all necessary proceedings and

   17   order the entry of judgment in this matter pursuant 28 U.S.C. § 636(c) and

   18   General Order 12-01. The statement should indicate whether the parties consent

   19   to the assignment of this matter to a Magistrate Judge.

   20        The Joint Rule 26(f) Report should set forth the above-described

   21   information under section headings corresponding to those in this Order.

   22                       II. SCHEDULING CONFERENCE

   23        Unless otherwise indicated, Scheduling Conferences will be conducted by

   24   video. Counsel shall comply with the following:

   25        1.   Participation: Lead trial counsel for each party must be present.

   26   Counsel must be prepared to discuss the substantive issues in the case and

   27   authorized to address scheduling with the Court and opposing counsel. If lead

   28   trial counsel for a party cannot be present because of an unreconcilable


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   1    scheduling conflict, then that party shall seek a stipulation with the other parties

   2    to continue the Scheduling Conference (by no more than three weeks) to a date

   3    on which all lead counsel can attend. If the parties cannot reach such a

   4    stipulation, then lead trial counsel who cannot attend the Scheduling Conference

   5    shall file an ex parte application seeking to be excused.

   6         2.   Continuance: Other than as set forth in the preceding paragraphs, a

   7    continuance of the Scheduling Conference will be granted only for good cause.

   8                 III. NOTICE TO BE PROVIDED BY COUNSEL

   9         Plaintiff’s counsel or, if Plaintiff is appearing pro se, Defendant’s

   10   counsel, shall provide this Order to any parties who first appear after the date of

   11   this Order and to parties who are known to exist but have not yet entered

   12   appearances.

   13                           IV. COURT’S WEBSITE

   14        Copies of this and all other orders of this Court that may become

   15   applicable to this case are available on the Central District of California website,

   16   at www.cacd.uscourts.gov, under “Judge’s Procedures and Schedules.” Copies

   17   of the Local Rules are also available on the website.

   18        IT IS SO ORDERED.

   19
   20   Dated: September 1, 2022
   21
                                                  John W. Holcomb
   22                                             UNITED STATES DISTRICT JUDGE

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   1         EXHIBIT A: SCHEDULE OF PRETRIAL AND TRIAL DATES
                               WORKSHEET
   2
   3                  Case No.:
   4               Case Name:
                 Event                 Plaintiff’s   Defendant’s     Court’s Order
   5                                    Request       Request
                                     month/day/year month/day/year
   6
            Jury Trial or
   7     Bench Trial (Monday
         at 9:00 a.m.)
   8     Length: ___ days
   9     Final Pretrial
         Conference [L.R. 16]
   10    (Friday−17 days
         before trial date)
   11    Hearing on Motions in
   12    Limine (Friday−7
         days before Final
   13    PTC)
         Last Date to Hear
   14    Non-Discovery Motions
   15    Last Date to Conduct
         Settlement Conference
   16
         All Discovery Cut-Off
   17    (including hearing all
         discovery motions)
   18    Expert Disclosure
         (Rebuttal)
   19
         Expert Disclosure
   20    (Initial)
   21
   22   ADR [L.R. 16-15] Settlement Choice:
   23            Attorney Settlement Officer Panel
   24            Private Mediation
   25            Magistrate Judge
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